Case 3:17-cv-00072-NKM-JCH Document 1246 Filed 10/18/21 Page 1 of 2 Pageid#: 20919



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                              Action No: 3:17CV72
    Elizabeth Sines, et al                                    Date: October 18, 2021
    vs.                                                       Judge: Norman K. Moon
                                                              Court Reporter: Lisa Blair
    Jason Kessler, et al
                                                              Deputy Clerk: Heidi N. Wheeler



    Plaintiff Attorney(s)                           Defendant Attorney(s)
    Jessica Phillips                                James Kolenich
    Michael Bloch                                   Josh Smith
    Alan Levine                                     William Rebrook
    Yotam Barkai
    Jonathan Kay
    David Mills
    Emily Cole
    Karen Dunn
    Makiko Hiromi
    William Isaacson
    Caitlin Munley
    Giovanni Sanchez
    Raymond Tolentino
    Matthew Godi

    (present via zoon hearing )



                                      LIST OF WITNESSES

    PLAINTIFF/GOVERNMENT:                           DEFENDANT:
    1.                                              1.



   PROCEEDINGS:
   VIDEO MOTION HEARING AND STATUS HEARING 9:30-10:40= 1hr 10 min

   Court gives outline for proceeding today on the motions.
Case 3:17-cv-00072-NKM-JCH Document 1246 Filed 10/18/21 Page 2 of 2 Pageid#: 20920


   Defense Motion 1148 argued by Mr. Kolenich. Response by Mr. Isaacson, Mr. Mills and Ms.
   Munley.

   Plaintiff Motion 1153 argued by Mr. Sanchez. Mr. Kolenich and Mr. Smith responds.

   Plaintiff’s Motion 1149 presented by Mr. Sanchez. The motion is unopposed and the plaintiffs
   rest on the brief.

   Court hears from Mr. Smith, new counsel to the case. Issues regarding trial and timinig
   disccused.

   Motion before Judge Hoppe addressed. Further matters discussed.

   Ms. Dunn follows up with some housekeeping matters.

   Follow up hearing set for 1:00 pm on October 20, 2021.




   Time in Court:
